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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

  INTERNATIONAL BUSINESS                      )
  MACHINES CORPORATION,                       )
                                              )
                Plaintiff,                    ) C.A. No. 22-590-GBW
                                              )
         V.                                   ) JURY TRIAL DEMANDED
                                              )
  ZYNGA INC., and CHARTBOOST,                 )
  INC.,                                       )
                                              )
                Defendants.

   PROPOSED              NDED SCHEDULING ORDER PATENT NON-ANDA

        This   ,rJf" day of ~~                 , 2023, the Court having reviewed the

 parties' joint proposed amended scheduling order, and the parties having

  determined after discussion that the matter cannot be resolved at this juncture by

  settlement, voluntary mediation, or binding arbitration;

        IT IS HEREBY ORDERED that:

        1.     Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard.

 The parties made their initial disclosures pursuant to Federal Rule of Civil

  Procedure 26(a)(l) on September 1, 2022. If they have not already done so, the

  parties are to review the Court's Default Standard for Discovery, Including

 Discovery of Electronically Stored Information ("ESI"), which is posted at

  http://www.ded.uscourts.gov (see Other Resources, Default Standard for

  Discovery) and is incorporated herein by reference.
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        2.     Joinder of Other Parties and Amendment of Pleadings. All motions to

  join other parties, and to amend or supplement the pleadings, shall be filed on or

  before August 1, 2023. Unless otherwise ordered by the Court, any motion to join

  a party or motion to amend the pleadings shall be made pursuant to the

  procedures set forth in Paragraphs 4(g) and 5.

        3.     Disclosures. Absent agreement among the parties, and approval of

  the Court:

               (a)    By September 21, 2022, Plaintiff shall identify the accused

  product( s), including accused methods and systems, and its damages model, as

  well as the asserted patent(s) that the accused product(s) allegedly infringe(s).

  Plaintiff shall also produce the file history for each asserted patent.

               (b)    By November 3, 2022, Defendant shall produce core

  technical documents related to the accused product( s), sufficient to show how the

  accused product(s) work(s), including but not limited to non-publicly available

  operation manuals, product literature, schematics, and specifications. Defendant

  shall also produce sales figures for the accused product(s).

               (c)    By 28 days after Defendant's compliance with the Court's

  Dec. 2 Order, Plaintiff shall produce an initial claim chart relating each known

  accused product to the asserted claims each such product allegedly infringes.




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               (d)    By 17 days after receipt of infringement contentions,

  Defendant shall produce its initial invalidity contentions for each asserted claim,

  as well as the known related invalidating references.

               (e)    By October 5, 2023 (or 30 days after Claim Construction

  Order, whichever is earlier), Plaintiff shall provide final infringement contentions.

               (f)    By November 2, 2023 (or 60 days after Claim Construction

  Order, whichever is earlier), Defendant shall provide final invalidity contentions.

        4.     Discovery. Unless otherwise ordered by the Court or agreed to by

  parties, the limitations on discovery set forth in the Federal Rules of Civil

  Procedure shall be strictly observed.

               (a)    Fact Discovery Cut Off. All fact discovery in this case shall be

  initiated so that it will be completed on or before November 16, 2023.

               (b)    Document Production. Document production shall be

  substantially complete by August 31, 2023.

               (c)    Requests for Admission. A maximum of 40 requests for

  admission are permitted for each side, excluding requests for authentication of

  documents.




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               (d)    Interrogatories.

                      1.     A maximum of 25 interrogatories, including contention

  interrogatories, are permitted for each side, i.e., only 25 total interrogatories can

  collectively be served by Defendants.

                      11.    The Court encourages the parties to serve and respond to

  contention interrogatories early in the case. In the absence of agreement among the

  parties, contention interrogatories, if filed, shall first be addressed by the party

  with the burden of proof. The adequacy of all interrogatory answers shall be

  judged by the level of detail each party provides (i.e. , the more detail a party

  provides, the more detail a party shall receive).

               (e)    Depositions.

                      1.     Limitation on Hours for Deposition Discovery. Each

  side is limited to a total of 70 hours of taking fact testimony by deposition upon

  oral examination.

                      11.    Location of Depositions. Any party or representative

  (officer, director, or managing agent) of a party filing a civil action in this district

  court must ordinarily be required, upon request, to submit to a deposition at a

  place designated within this district. Exceptions to this general rule may be made

  by order of the Court. A defendant who becomes a counterclaimant, cross-




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  claimant, or third-party plaintiff shall be considered as having filed an action in

  this Court for the purpose of this provision.

               (f)    Disclosure of Expert Testimony.

                      1.     Expert Reports. For the party who has the initial burden

  of proof on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2)

  disclosure of expert testimony is due on or before December 21, 2023. The

  supplemental disclosure to contradict or rebut evidence on the same matter

  identified by another party is due on or before February 1, 2024. Reply expert

  reports from the party with the initial burden of proof are due on or before

  February 28, 2024. No other expert reports will be permitted without either the

  consent of all parties or leave of the Court. Along with the submissions of the

  expert reports, the parties shall advise of the dates and times of their experts'

  availability for deposition.

                      11.    Objections to Expert Testimony. To the extent any

  objection to expert testimony is made pursuant to the principles announced in

  Daubert v. Merrell Dow Pharmaceuticals, Inc. , 509 U.S. 579 (1993), as

  incorporated in Federal Rule of Evidence 702, it shall be made by motion no later

  than the deadline for dispositive motions set forth herein, unless otherwise

  ordered by the Court. Briefing on such motions is subject to the page limits set

  out in connection with briefing of case dispositive motions.



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                     111.   Expert Discovery Cut-Off. All expert discovery in this

  case shall be initiated so that it will be completed on or before March 13, 2024

               (g)    Discovery Matters and Disputes Relating to Protective Orders.

                       1.   Any discovery motion filed without first complying with

 the following procedures will be denied without prejudice to renew pursuant to

 these procedures.

                      11.   Should counsel find, after good faith efforts -   including

 verbal communications among Delaware and Lead Counsel for all parties to the

 dispute - that they are unable to resolve a discovery matter or a dispute relating

 to a protective order, the parties involved in the discovery matter or protective

 order dispute shall submit a joint letter in substantially the following form:

                     Dear Judge Williams:

                            The parties in the above-referenced matter

                     write to request the scheduling of a discovery
                     teleconference.

                            The following attorneys, including at least one
                     Delaware Counsel and at least one Lead Counsel per
                     party, participated in a verbal meet-and-confer (in person
                     and/or by telephone) on the

                     following date(s): _ _ _ _ __

                     Delaware Counsel:

                     Lead Counsel:




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                           The disputes requiring judicial attention are listed
                     below:

                     [provide here a non-argumentative list of disputes
                     requiring judicial attention]

                     111.   On a date to be set by separate order, generally not less

 than forty-eight (48) hours prior to the conference, the party seeking relief shall file

 with the Court a letter, not to exceed three (3) pages, outlining the issues in dispute

 and its position on those issues. On a date to be set by separate order, but generally

 not less than twenty-four (24) hours prior to the conference, any party opposing the

 application for relief may file a letter, not to exceed three (3) pages, outlining that

 party's reasons for its opposition.

                      1v.   Each party shall submit two (2) courtesy copies of its

  discovery letter and any attachments.

                      v.    Should the Court find further briefing necessary upon

  conclusion of the telephone conference, the Court will order it. Alternatively, the

  Court may choose to resolve the dispute prior to the telephone conference and

  will, in that event, cancel the conference.

        5.    Motions to Amend.

               (a)    Any motion to amend (including a motion for leave to amend)

  a pleading shall NOT be accompanied by an opening brief but shall, instead, be

  accompanied by a letter, not to exceed three (3) pages, describing the basis for the



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  requested relief, and shall attach the proposed amended pleading as well as a

  "blackline" comparison to the prior pleading.

               (b)    Within seven (7) days after the filing of a motion in compliance

  with this Order, any party opposing such a motion shall file a responsive letter, not

  to exceed five (5) pages.

               (c)    Within three (3) days thereafter, the moving party may file a

  reply letter, not to exceed two (2) pages, and, by this same date, the parties shall

  file a letter requesting a teleconference to address the motion to amend.

        6.    Motions to Strike.

               (a)    Any motion to strike any pleading or other document shall

  NOT be accompanied by an opening brief but shall, instead, be accompanied by a

  letter, not to exceed three (3) pages, describing the basis for the requested relief,

  and shall attach the document to be stricken.

               (b)    Within seven (7) days after the filing of a motion in compliance

  with this Order, any party opposing such a motion shall file a responsive letter, not

  to exceed five (5) pages.

               (c)    Within three (3) days thereafter, the moving party may file a

  reply letter, not to exceed two (2) pages, and, by this same date, the parties shall

  file a letter requesting a teleconference to address the motion to strike.




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        7.     Technology Tutorials. Unless otherwise ordered by the Court, the

  parties jointly shall provide the Court, no later than the date on which the Joint

  Claim Construction Chart is due, a tutorial on the technology at issue. In that

  regard, the parties shall jointly submit to the Court an electronic tutorial of not

  more than thirty (30) minutes. The tutorial should focus on the technology in issue

  and educate the Court about the same and should not be used for argument. As to

  the format selected, the parties should confirm the Court's technical abilities to

  access the information contained in the tutorial ("mpeg", "quicktime", etc.). The

  parties may choose to file their tutorial under seal, subject to any protective order

  in effect.

        8.     Claim Construction Issue Identification. On or before April 20, 2023,

 the parties shall exchange a list of those claim term( s)/phrase(s) that they believe

 need construction and their proposed claim construction of those term(s)/phrase(s).

 On or before May 4, 2023, the parties shall respond to and provide their proposed

 construction for any term( s)/phrase( s) presented by the other side for which the

 party did not initially provide a construction. These documents will not be filed

 with the Court. Subsequent to exchanging that list, the parties will meet and confer

 to prepare a Joint Claim Construction Chart to be filed no later than May 18,

 2023. The Joint Claim Construction Chart, in Word format, shall be e-mailed

 simultaneously with filing to gbw civil@ded.uscourts.gov. The parties' Joint



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  Claim Construction Chart should identify for the Court the term( s)/phrase( s) of

  the claim(s) in issue, and should include each party's proposed construction of

  the disputed claim language with citation(s) only to the intrinsic evidence in

  support of their respective proposed constructions. A copy of the patent(s) in

  issue as well as those portions of the intrinsic record relied upon shall be

  submitted with this Joint Claim Construction Chart. In this joint submission, the

  parties shall not provide argument.

        9.     Claim Construction Briefing. Plaintiff shall serve, but not file, its

  opening brief, not to exceed 5,000 words, on June 7, 2023. Defendant shall serve,

  but not file, its answering brief not to exceed 7,500 words, on June 29, 2023 .

  Plaintiff shall serve, but not file, its reply brief, not to exceed 5,000 words, on

  July 13, 2023. Defendant shall serve, but not file its sur-reply brief, not to exceed

  2,500 words, on July 27, 2023. No later than August 3, 2023, the parties shall file

  a Joint Claim Construction Brief. The parties shall copy and paste their unfiled

  briefs into one brief, with their positions on each claim term in sequential order, in

  substantially the form below.

                     JOINT CLAIM CONSTRUCTION BRIEF

  I.    Agreed-Upon Constructions

  II.   Disputed Constructions

        [TERM 1]



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                 1.    Plaintiffs Opening Position

                2.     Defendant's Answering Position

                 3.    Plaintiffs Reply Position

                4.     Defendant's Sur-Reply Position

         [TERM2]

                 1.    Plaintiffs Opening Position

                2.     Defendant's Answering Position

                 3.    Plaintiffs Reply Position

                 4.    Defendant's Sur-Reply Position

   If there are any materials that would be submitted in an index, the parties shall

   submit them in a Joint Appendix.

          10.   Hearing on Claim Construction. Beginning at 10:00 a.m. on

   September 26, 2023, the Court will hear argument on claim construction. The

   parties shall notify the Court, by joint letter submission, no later than the date on

   which their answering claim construction briefs are due: (i) whether they request

   leave to present testimony at the hearing; and (ii) the amount of time they are

   requesting be allocated to them for the hearing.

         Provided that the parties comply with all portions of this Scheduling Order,

   and any other orders of the Court, the parties should anticipate that the Court will

   issue its claim construction order within sixty (60) days of the conclusion of the



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   claim construction hearing. If the Court is unable to meet this goal, it will advise

  the parties no later than sixty (60) days after the conclusion of the claim

   construction hearing.

         11.   Interim Status Report. On May 30, 2023, counsel shall submit a joint

   letter to the Court with an interim report of the matters in issue and the progress

   of discovery to date. Thereafter, if the Court deems it necessary, it will schedule a

   status conference.

         12.   Supplementation. Absent agreement among the parties, and approval

   of the Court,

                   (a)   no later than October 5, 2023 (or 30 days after Claim

         Construction Order, whichever is earlier) the patentee must finally

         supplement the identification of all accused products and serve final

         infringement contentions; and

                   (b)   no later than November 2, 2023 (or 60 days after Claim

         Construction Order, whichever is earlier) the accused infringers must

         finally supplement the identification of all invalidity references and serve

         final invalidity contentions.

         13.   Narrowing Issues.

                   (a)   On November 30, 2023, Plaintiff shall perform a first

         narrowing of the number of asserted claims. On December 7, 2023,



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         Defendant shall perform a first narrowing of the number of asserted

         invalidity references.

                (b)    On February 28, 2024, Plaintiff shall perform a second

         narrowing of the number of asserted claims. On March 5, 2024, Defendant

         shall perform a second narrowing of the number of asserted invalidity

         references.

         14.   Case Dispositive Motions.

                (a)    All case dispositive motions, an opening brief, and affidavits, if

   any, in support of the motion shall be served and filed on or before March 21,

   2024. Responses to dispositive motions shall be served and filed on or before

   April 11, 2024 and replies to dispositive motions shall be served and filed on or

   before April 25, 2024. No case dispositive motion under Rule 56 may be filed

   more than ten (10) days before the above date without leave of the Court.

                (b)    Concise Statement of Facts Requirement. Any motion for

   summary judgment shall be accompanied by a separate concise statement, not to

   exceed six (6) pages, which details each material fact which the moving party

   contends is essential for the Court's resolution of the summary judgment motion

   (not the entire case) and as to which the moving party contends there is no genuine

   issue to be tried. Each fact shall be set forth in a separate numbered paragraph and

   shall be supported by specific citation(s) to the record.



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               Any party opposing the motion shall include with its opposing papers

  a response to the moving party's concise statement, not to exceed six ( 6) pages,

  which admits or disputes the facts set forth in the moving party's concise statement

  on a paragraph-by-paragraph basis. To the extent a fact is disputed, the basis of

  the dispute shall be supported by specific citation(s) to the record. Failure to

  respond to a fact presented in the moving party's concise statement of facts shall

  indicate that fact is not in dispute for purposes of summary judgment. The party

  opposing the motion may also include with its opposing papers a separate concise

  statement, not to exceed four (4) pages, which sets forth material facts as to which

  the opposing party contends there is a genuine issue to be tried. Each fact asserted

  by the opposing party shall also be set forth in a separate numbered paragraph and

  shall be supported by specific citation(s) to the record.

               The moving party shall include with its reply papers a response to the

  opposing party's concise statement of facts, not to exceed four (4) pages, on a

  paragraph-by-paragraph basis. Failure to respond to a fact presented in the

  opposing party's concise statement of facts shall indicate that fact remains in

  dispute for purposes of summary judgment.

               (c)    Page limits combined with Daubert motion page limits. Each

  party is permitted to file as many case dispositive motions as desired provided,

  however, that each SIDE will be limited to a combined total of 4_0 pages for all



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  opening briefs, a combined total of 40 pages for all answering briefs, and a

  combined total of 20 pages for all reply briefs regardless of the number of case

  dispositive motions that are filed. In the event that a party files, in addition to a

  case dispositive motion, a Daubert motion to exclude or preclude all or any

  portion of an expert's testimony, the total amount of pages permitted for all case

  dispositive and Daubert motions shall be increased to 50 pages for all opening

  briefs, 50 pages for all answering briefs, and 25 pages for all reply briefs for each

  SIDE.1

               (d)    Ranking of Summary Judgment Motions. Any party that files

  more than one summary judgment motion shall number each motion to indicate the

  order in which the party wishes the Court to review its pending motions. The first

  motion the party wishes the Court to consider shall be designated # 1, the second

  motion shall be designated #2, and so on. The Court will review the party's

  summary judgment motions in the order designated by the party. If the Court

  decides to deny a motion filed by the party, barring exceptional reasons determined




  1
    The parties must work together to ensure that the Court receives no more than a
  total of 250 pages (i.e., 50 + 50 + 25 regarding one side's motions, and 50 + 50 +
  25 regarding the other side's motions) of briefing on all case dispositive motions
  and Daubert motions that are covered by this scheduling order and any other
  scheduling order entered in any related case that is proceeding on a consolidated
  or coordinated pretrial schedule.

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  sua sponte by the Court, the Court will not review any lower ranked summary

  judgment motions filed by the party.

        15.   Applications by Motion. Except as otherwise specified herein, any

  application to the Court shall be by written motion. Any non-dispositive motion

  should contain the statement required by Local Rule 7 .1.1.

        16.   Application to Court for Protective Order. A proposed form of order

  was filed on October 12, 2022 (D.I. 60). Should counsel be unable to reach an

  agreement on a proposed form of order, counsel must follow the provisions of

  Paragraph 4(g) above.

        Any proposed protective order must include the following paragraph:

              Other Proceedings. By entering this order and limiting
              the disclosure of information in this case, the Court does
              not intend to preclude another court from finding that
              information may be relevant and subject to disclosure in
              another case. Any person or party subject to this order
              who becomes subject to a motion to disclose another
              party's information designated "confidential" [the parties
              should list any other level of designation, such as "highly
              confidential," which may be provided for in the
              protective order] pursuant to this order shall promptly
              notify that party of the motion so that the party may have
              an opportunity to appear and be heard on whether that
              information should be disclosed.

        17.   Papers Filed Under Seal. In accordance with section G of the Revised

  Administrative Procedures Governing Filing and Service by Electronic Means, a




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  redacted version of any sealed document shall be filed electronically within seven

  (7) days of the filing of the sealed document.

         18.   Courtesy Copies. The parties shall provide to the Court two (2)

  courtesy copies of filings (i.e. , briefs, appendices, exhibits, declarations, affidavits

  etc.). Courtesy copies of appendices and exhibits should include hard tabs. This

  provision also applies to papers filed under seal.

         19.   Motions in Limine. Motions in limine shall not be separately filed.

  All in limine requests and responses thereto shall be set forth in the proposed

  pretrial order. Each SIDE shall be limited to three (3) in limine requests, unless

  otherwise permitted by the Court. The in limine request and any response shall

  contain the authorities relied upon; each in limine request may be supported by a

  maximum of three (3) pages of argument, may be opposed by a maximum of three

  (3) pages of argument, and the side making the in limine request may add a

  maximum of one ( 1) additional page in reply in support of its request. If more than

  one party is supporting or opposing an in limine request, such support or

  opposition shall be combined in a single three (3) page submission (and, if the

  moving party, a single one (1) page reply), unless otherwise ordered by the Court.

  No separate briefing shall be submitted on in limine requests, unless otherwise

  permitted by the Court.




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         20.    Pretrial Conference. On August 29, 2024, the Court will hold a

  pretrial conference in Court with counsel beginning at 3:00 p.m. Unless otherwise

  ordered by the Court, the parties should assume that filing the pretrial order

  satisfies the pretrial disclosure requirement of Federal Rule of Civil Procedure

  26(a)(3). The parties shall file with the Court the joint proposed final pretrial order

  in compliance with Local Rule 16.3(c) and the Court's Preferences and Procedures

  for Civil Cases not later than seven (7) days before the pretrial conference. Unless

  otherwise ordered by the Court, the parties shall comply with the timeframes set

  forth in Local Rule 16.3(d)(l)-(3) for the preparation of the joint proposed final

  pretrial order.

                The parties shall provide the Court two (2) courtesy copies of the

  joint proposed final pretrial order and all attachments. The proposed final pretrial

  order shall contain a table of contents and the paragraphs shall be numbered.

         21.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a

  case is to be tried to ajury, pursuant to Local Rules 47.l(a)(2) and 51.1 the parties

  should file (i) proposed voir dire, (ii) preliminary jury instructions, (iii) final jury

  instructions, and (iv) special verdict forms seven (7) business days before the final

  pretrial conference. This submission shall be accompanied by a courtesy copy

  containing electronic files of these documents, in Microsoft Word format, which

  may be submitted by e-mail to gbw civil@ded.uscourts.gov.



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          22.   Trial. This matter is scheduled for a five-day jury trial beginning at

  9:30 a.m. on September 9, 2024, with the subsequent trial days beginning at 9:30

  a.m. Until the case is submitted to the jury for deliberations, the jury will be

  excused each day at 5:30 p.m. The trial will be timed, as counsel will be allocated

  a total number of hours in which to present their respective cases.

          23.   Judgment on Verdict and Post-Trial Status Report. Within seven (7)

  days after a jury returns a verdict in any portion of a jury trial, the parties shall

  jointly submit a form of order to enter judgment on the verdict. At the same time,

  the parties shall submit a joint status report, indicating among other things how

  the case should proceed and listing any post-trial motions each party intends to

  file.

          24.   Post-Trial Motions. Unless otherwise ordered by the Court, all

  SIDES are limited to a maximum of 20 pages of opening briefs, 20 pages of

  answering briefs, and 10 pages of reply briefs relating to any post-trial motions

  filed by that side, no matter how many such motions are filed.

          25.   ADR Process. This matter is referred to a magistrate judge to explore

  the possibility of alternative dispute resolution.




                                            The Honorable Gregory B. Williams
                                            United States District Judge



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            Counsel Shall Provide a Chart of All Relevant Deadlines

                    Event                                      Deadline

   Rule 26( a)( 1) Initial Disclosures                    September 1, 2022

   Plaintiff Identifies Accused Products,
   Damages Model, Asserted Patents, and                   September 21, 2022
   Produces File Histories

   Parties File Joint Proposed ESI Order                  September 2 1, 2022

   Parties Produce Initial Disclosures of
                                                          September 26, 2022
   Custodians and ESI

   Defendants Produce Core Technical
   Documents and Sales Figures For                        November 3, 2022
   Accused Products

   Defendants Comply With The Court's                      January 31, 2023
   Dec. 2 Order

   Plaintiffs Initial Identification of                    February 1, 2023
   Asserted Claims

   Plaintiff Produces Initial Infringement         28 days after compliance with the
   Contentions                                           Court's Dec. 2 Order

   Defendants Produce Initial Invalidity          17 days after receipt of infringement
   Contentions                                                 contentions

   Parties Exchange Proposed Terms and
                                                            April 20, 2023
   Constructions

   Parties Exchange Proposed
   Constructions for Any
   Term(s)/Phrase(s) Presented By The                        May 4, 2023
   Other Side For Which The Party Did
   Not Initially Provide A Construction



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                   Event                                     Deadline

   Parties File Joint Claim Construction
                                                           May 18, 2023
   Chart

   Plaintiff To Serve (But Not File)
                                                            June 7, 2023
   Opening Claim Construction Brief

   Defendants To Serve (But Not File)
                                                           June 29, 2023
   Answering Claim Construction Brief

   Plaintiff To Serve (But Not File) Reply
                                                            July 13, 2023
   Claim Construction Brief

   Defendants To Serve (But Not File)
                                                            July 27, 2023
   Sur-Reply Claim Construction Brief

   Parties File Joint Claim Construction
                                                           August 3, 2023
   Brief

   Interim Status Report                                   May 30, 2023

   Markman Hearing                                September 26, 2023 at 10:00 a.m.

   Last Day For J oinder of Other Parties
   and Amendment or Supplementation                        August 1, 2023
   of Pleadings

   Deadline For Substantial Completion
                                                          August 31 , 2023
   of Document Production

                                                   October 5, 2023 (or 30 days after
   Plaintiff Provides Final Infringement
                                                 Claim Construction Order, whichever
   Contentions
                                                               is earlier)

                                                  November 2, 2023 (or 60 days after
   Defendants Provide Final Invalidity
                                                 Claim Construction Order, whichever
   Contentions
                                                              is earlier)

   Close of Fact Discovery                               November 16, 2023


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                                                                              ,,,
                   Event                                      Deadline

   Plaintiff Performs First Narrowing of
                                                         November 30, 2023
   Asserted Claims

   Defendants Perform First Narrowing of
                                                         December 7, 20223
   Invalidity References

   Initial FRCP 26(a)(2) Disclosure of
                                                         December 21, 2023
   Expert Testimony

   Last Day For Supplemental Disclosure
   of Expert Testimony to Contradict or
                                                          February 1, 2024
   Rebut Evidence on the Same Matter
   Identified By Another Party

   Reply Expert Reports From the Party
                                                          February 28, 2024
   with the Initial Burden of Proof

   Plaintiff Performs Second Narrowing
                                                          February 28, 2024
   of Asserted Claims

   Defendants Perform Second Narrowing
                                                            March 5, 2024
   of Invalidity References

   Close of Expert Discovery                               March 13 , 2024

   Opening Case Dispositive and Daubert
                                                           March 21, 2024
   Motions

   Responses to Case Dispositive and
                                                            April 11 , 2024
   Daubert Motions

   Replies to Case Dispositive and
                                                            April 25, 2024
   Daubert Motions

   File Joint Proposed Final Pretrial
                                                Seven days prior to pretrial conference
   Order




                                           22
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                    Event                                      Deadline

   File Jury Instructions, V oir Dire, and        Seven business days prior to pretrial
   Verdict Forms                                              conference

   Pretrial Conference                               August 29, 2024 at 3:00 p.m.

   Trial                                                  September 9, 2024

                                                   Within seven (7) days after a jury
   Judgment on Verdict and Post-Trial
                                                  returns a verdict in any portion of a
   Status Report
                                                                jury trial




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